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DECLARATION OF RAYMOND S. HARTMAN

CALCULATION OF DAMAGES FOR THE NEURONTIN MDL CLASS PLAINTIFFS
AND COORDINATED PLAINTIFFS (AETNA, GUARDIAN AND KAISER)

i. QUALIFICATIONS

1, My name is Raymond 8. Hartman. I am Director and President of Greylock
McKinnon Associates (GMA), a consulting and litigation support firm located in
Cambridge, Massachusetis. I have previously presented my qualifications in my August
2005 Declaration in this matter’ and do not repeat them here. An updated curriculum
vitae and a listing of deposition and trial appearances is presented in Attachment A. My
rate of compensation in this matter is $475.00 per hour. Materials cited in this
Declaration appear in Attachment C.

Ii. OVERVIEW AND SUMMARY

2, I have been asked by counsel to the named Plaintiffs and the Classes to calculate
the monelary value of damages. The MDL Classes and Subclasses are defined as
follows:

“All private, non-governmental entities in the United States and its
territories that paid or reimbursed all or part of the cost of Neurontin
prescribed, provided, or administered to natural persons covered by any
contract, policy, or plan, for any of the following indications during the
following periods of time (the ‘TPP Class’):

 

 

 

 

 

 

TPP Subclass Subclass Period
Bipolar/Mood Disorders 11/95 ~ 12/04
Neuropathic Pain 7/95 — 12/04
Migraine/Headache 9/95 — 12/04
Nociceptive Pain 9/95 ~ 12/04
Doses > 1800 mg/day 3/95 — 12/04

 

 

 

 

Such entities include, but are not limited to, insurance companies, union
health and welfare benefit plans, entities with’ self-funded plans that

 

' “Estimation of Class-wide Damages, Declaration of Raymond S. Hartman,” Jn re: Newrontin Marketing
and Sales Practices Litigation. MDL Docket No. 1629, Master File No. 04-10981, United States District
Court, District of Massachusetts, August 8, 2005 (hereafter Haronan August 2005 Deciaration).

 

DECLARATION OF RAYMOND S. HARTMAN NEURONTIN LINGATION
CONTAINS CONFIDENTIAL INFORMATION SUBFECT TO COURT ORDER PAGE }
